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                 EXHIBIT 1
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                       MICHAEL LEBBY, PH.D.
                 EXHIBIT 1 – MATERIALS CONSIDERED

Patents & File Histories

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      U.S. Pat. Appl. No. 2005/0089280 A1 (Kumar et al.)
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Production Documents
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Other
    Quinn List of 50 Files


**All documents listed in Exhibit 2 of my declaration in support of Defendants’ Opposition to
Plaintiff Waymo LLC’s Motion for Preliminary Injunction.




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